   Case 5:13-cr-00025-MFU-JGW           Document 302          Filed 11/21/14    Page 1 of 11
                                        Pageid#: 1251



                     UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                                 HARRISONBURG DIVISION


_______________________________________
                                       )
UNITED STATES OF AMERICA               )                           Case No. 5:13cr00025-4
                                       )
v.                                     )                                 REPORT AND
                                       )                              RECOMMENDATION
                                       )
JOSHUA ADAM PETTYJOHN,                 )
                                       )                        By:     Hon. James G. Welsh
             Defendant                 )                                U.S. Magistrate Judge
                                       )
______________________________________ )



       On November 13, 2014 came the United States, by counsel, and came also the defendant,

in his own proper person and by his counsel. At which time counsel for the parties jointly

represented that the parties had entered into a plea agreement, pursuant to Rule 11 of the Federal

Rules of Criminal Procedure. In accordance with the provisions of Title 28 U.S.C. § 636(b)(3)

and upon the defendant’s informed and written consent, this case was referred to the undersigned

for the purpose of conducting a plea hearing (docket #295).

       As set forth in more detail in a Third Superseding Indictment (docket #122) (“the

Indictment”), the Grand Jury previously returned a multiple count, multiple defendant,

Indictment charging the above-named defendant in Count One that beginning on or about the

Summer of 2011 and continuing to September 2013, in the Western Judicial District of Virginia

and elsewhere this defendant and others known and unknown, did knowingly and intentionally

combine, conspire, confederate and agree with other persons, both known and unknown to the

Grand Jury, to knowingly and intentionally distribute and possess with intent to distribute a
   Case 5:13-cr-00025-MFU-JGW           Document 302        Filed 11/21/14     Page 2 of 11
                                        Pageid#: 1252



mixture or substance containing a detectable amount of heroin, a Schedule I controlled

substance, and to distribute and possess with intent to distribute a mixture or substance

containing a detectable amount of cocaine base, also known as “crack,” a Schedule II controlled

substance, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), All in violation of 21 U.S.C.

§ 846, and charging the above-named defendant in Count Eight that on or about June 12, 2013

this defendant did knowingly and intentionally possess with intent to distribute a measurable

quantity of a mixture or substance containing a detectable amount of heroin, a Schedule I

controlled substance, All in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). In addition,

the Indictment contains a Notice of Forfeiture apprising the above-named defendant that certain

of his property is subject to forfeiture upon conviction of one or more of the offense alleged

against him.

       The Rule 11 plea hearing was recorded by a court reporter. See Rule 11(g). The United

States was represented by Donald R. Wolthuis, Assistant United States Attorney. The defendant

was at all times present in person and with his counsel, Gregory W. Bowman. Inquiry was made

to the defendant pursuant to Rule 11(b) and (c); the government presented a written Agreed

Statement of Facts for the purpose of establishing an independent basis for the agreed plea, and

the defendant entered pleas of guilty to the felony offenses charged in Counts One and Eight of

the Indictment.

                     DEFENDANT=S RESPONSES TO RULE 11 INQUIRIES

       After the defendant was placed under oath, he was addressed personally in open court.

He stated he understood his obligation to testify truthfully in all respects under penalty of

perjury, and he understood the government=s right in a prosecution for perjury or false statement

to use against him any statement that he gives under oath. See Rule 11(b)(1)(A).




                                                2
   Case 5:13-cr-00025-MFU-JGW             Document 302         Filed 11/21/14      Page 3 of 11
                                          Pageid#: 1253



       The defendant testified to the following personal facts: his full legal name is JOSHUA

ADAM PETTYJOHN; he is twenty-eight (28) years of age, and he has a high school education.

He stated he understood he was in court for the purpose of entering pleas of guilty to two felony

offenses which he could not later withdraw. Upon inquiry, the defendant=s attorney represented

that he had no reservations about the defendant=s competency to entering pleas of guilty to the

charged felony offenses set forth in Count One and Count Eight of the Indictment.

       The defendant acknowledged that he had received a copy of the Indictment, and it had

been fully explained to him. He stated that he had discussed the charges with his attorney and

had been given enough time to do so. He stated he understood the nature of the charges against

him in the Indictment and specifically understood it charged two felony offenses and contained a

forfeiture notice. See Rule 11(b)(1)(G). He testified he had discussed any possible defenses

with his attorney, and he had been given adequate time to prepare any defenses he might have to

the charges. He stated that his decision to enter a plea of guilty to Counts One and Eight had

been made after consulting with him attorney. He stated he was fully satisfied with the services

of his attorney, and it was his intention and desire to enter pleas of guilty pursuant to the terms of

the plea agreement.

       The defendant confirmed that he fully recognized and understood his right to have the

Rule 11 hearing conducted by a United States district judge, and he gave him verbal and written

consent to proceed with the hearing before the undersigned United States magistrate judge. The

defendant=s written consent was filed and made a part of the record.

       Counsel for the parties having previously informed the court that the defendant=s

proposed plea was to be made pursuant to a written plea agreement (see Rule 11(c)(2)), counsel

for the government next set forth the government=s understanding of the plea agreement in some

detail: including the agreement for the defendant to enter pleas of guilty to Count One of the


                                                   3
   Case 5:13-cr-00025-MFU-JGW             Document 302         Filed 11/21/14      Page 4 of 11
                                          Pageid#: 1254



Indictment charging him with participating in a criminal conspiracy to distribute and to possess

with intent to distribute both “crack” cocaine and heroin in violation of 21 U.S.C. §§ 846 and

841(a)(1) and (b)(1)(C), and to Count Eight of the Indictment charging him with the knowing

and intentional possession with the intent to distribute, of a measurable quantity of a mixture or

substance containing a detectable amount of heroin, a Schedule I controlled substance in

violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) [& A.1.]; the defendant=s express

acknowledgment of the maximum statutory penalty for the offense charged in Count One and for

the offense charged in Count Eight [& A.1.]; his express recognition that any period of

incarceration would be followed by a period of supervised release of at least three (3) years

which, if violated, could increase his possible period of incarceration [¶A.1.]; the defendant=s

understanding that he may be required to pay fees for his incarceration and supervised release,

that he may be required to pay restitution, and that his assets may be subject to forfeiture [&&

A.1. and B.4.]; the defendant=s admission of his factual guilt to the offenses charged in Counts

One and Eight of the Indictment [& A.1.]; the defendant=s various monetary obligations,

including payment of a $200.00 special assessment and the related restitution and assessment

provisions [&& A.1 and B.4.a.]; the defendant=s express acknowledgment of the trial rights

waived by entry of a voluntary plea of guilty [& A.2]; the agreement=s provision outlining the

fact that sentencing is within the sole discretion of the court Asubject to its consideration@ of the

Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553(a) [& B.1.]; the defendant=s

express recognition that he would not be allowed to withdraw his guilty plea irrespective of the

sentence imposed by the court [& B.1.]; the defendant’s acknowledgement that the government

would object to any sentence below the guideline range [¶ B.1.]; the parties’ agreement for

purposes of guideline sections 2D1.1 and 1B1.3 that the exact drug weight is a factual matter to

be determined by the court, and the defendants agreement to be bound by that factual finding


                                                  4
    Case 5:13-cr-00025-MFU-JGW                  Document 302             Filed 11/21/14         Page 5 of 11
                                                Pageid#: 1255



[B.2.]; the acceptance of responsibility provision 1 [¶ B.2.]; the substantial assistance provision

[& B.3.]; the defendant=s monetary, financial disclosure and related obligation [¶ B.4.a.-c.]; the

terms of the defendant=s express relinquishment of his waivable rights of direct appeal [& C.1.];

the terms of the defendant=s express relinquishment of his waivable rights to make any collateral

attack on any judgment or sentence imposed by the court [& C.2.]; the defendant=s abandonment

of any seized property [& C.5.]; the defendant=s waiver of all rights to access of investigation or

prosecution records or information [&C.3.]; the defendant=s acknowledgment that he had been

effectively represented in this case [& E.3.]; the parties’ express acknowledgment that the written

plea agreement constituted the entire understanding between the parties [&E.2]; and the

substance of the agreement=s other terms and provisions.                      See Rule 11(b)(1)(B)B(O) and

11(c)(1)B(3).

         After which, the defendant was asked what his understanding of the terms of the

agreement was, and he testified that his understanding was precisely the same as that set forth by

the government=s attorney.             Counsel for the defendant, likewise, represented that his

understanding was the same, and he further represented that the plea agreement had been fully

discussed and its terms reviewed with the defendant, and he was satisfied that the defendant

understood all of its terms.

         The defendant was then shown the plea agreement; and he affirmed it to be his signature

on the document. He further testified that no one had made any other, different or additional

promise or assurance of any kind in an effort to induce him to enter a plea of guilty and that no

one had attempted in any way to force him to plead guilty in this case. The agreement was then



1
  Counsel for the government noted for the record that the defendant had earned full acceptance of responsibility for
his conduct.



                                                          5
   Case 5:13-cr-00025-MFU-JGW              Document 302          Filed 11/21/14      Page 6 of 11
                                           Pageid#: 1256



received, filed and made a part of the record, and it was noted for the record that the written plea

agreement constitutes the best evidence of its terms, and as such it Aspeaks for itself.@

       After counsel for the government outlined the range of punishment for the two offenses,

the defendant acknowledged that he understood the maximum penalty provided by law for the

Count One offense was confinement in a federal penitentiary for a term of twenty (20) years, a

fine of $1,000.000.00 and a term of supervised release or at least three (3) years, and he

understood the maximum penalty provided by law for the Count Eight offense was the same,

confinement in a federal penitentiary for a term of twenty (20) years, a fine of $1,000.000.00 and

a term of supervised release or at least three (3) years. See Rule 11(b)(1)(H)-(I). In addition, the

defendant acknowledged that he understood that he would be required to pay a mandatory

$200.00 special assessment per felony conviction count. See Rule 11(b)(1)(L).

       The defendant then acknowledged that he knew his plea, if accepted, would result in him

being adjudged guilty of two felony offenses and that such adjudication may deprive him of

valuable civil rights, such as the right to vote, the right to hold public office, the right to serve on

a jury, and the right to possess any kind of firearm.

       The defendant was informed, and he expressly acknowledged, that the court=s

determination of his sentence would include consideration of multiple factors, including: the

nature and circumstances of the offense; the defendant=s history and characteristics; the

seriousness of the offense; the need to promote respect for the law; the need to provide for just

punishment and afford adequate deterrence; the need to protect the public; any determined need

to provide the defendant with educational or vocational training, medical care or other

correctional treatment in the most efficient manner; the kinds of available sentences; the

pertinent sentencing guidelines and policy statements; the need to avoid unwanted sentence

disparities; and any need to provide for restitution. He also acknowledged that he understood the


                                                    6
   Case 5:13-cr-00025-MFU-JGW            Document 302         Filed 11/21/14     Page 7 of 11
                                         Pageid#: 1257



court may order him to make full restitution to any victim and may require him to forfeit certain

of him property to the government. See Rule 11(b)(1)(J)B(K).

       The defendant testified that he and his attorney had talked about how the Sentencing

Commission Guidelines might apply to his case and the court=s obligation to calculate the

applicable sentencing-guideline range and to consider that range, possible departures under the

Guidelines and other factors under 18 U.S.C. ' 3553(a). See Rule 11(b)(1)(M). He stated that he

understood that the court will not be able to determine the recommended guideline sentence in

his case until after the pre-sentence report had been completed and he and the government each

had an opportunity to challenge the facts reported by the probation officer.

       The defendant then acknowledged that he knew the entry of a guilty plea constituted an

admission of all of the elements of a formal felony charge, and he knew that irrespective of any

sentence imposed by the court he would have no right to withdraw this guilty plea. See Rule

11(c)(3)(B). He acknowledged that he knew parole had been abolished and that he would not be

released on parole. He further acknowledged that he knew and understood any sentence of

incarceration imposed by the court would include a period of supervised release, or could, if

applicable, subject him to deportation from this country. See Rule 11(b)(1)(H) and (O).

       Pursuant to the terms of the plea agreement [& C.1.], the defendant expressly

acknowledged that he understood that he was giving-up all of his waivable rights to appeal.

Likewise, pursuant to the terms of the plea agreement [& C.2.], he expressly acknowledged that

he understood he was similarly giving-up all of him waivable tights to challenge his conviction

or his sentence in any post-conviction proceeding.

       His procedural rights surrendered on a plea of guilty were also explained: including: the

right to plead not guilty to any charged offense; the right to persist in any not guilty plea; the

right to trial by an impartial jury; the attendant rights to counsel to assist in his defense, the


                                                 7
   Case 5:13-cr-00025-MFU-JGW            Document 302         Filed 11/21/14     Page 8 of 11
                                         Pageid#: 1258



presumption of innocence, the obligation of the government to prove guilt beyond a reasonable

doubt, the right at trial to see, hear and confront (to have cross-examined all witnesses presented

against the defendant); the right to decline to testify unless one voluntarily elects to do so; the

right to remain silent; the right to the issuance of subpoenas or compulsory process to compel

the attendance of witnesses to testify for the defense, and the right to a unanimous jury verdict.

See Rule 11(b)(1)(B)B(E). The defendant testified that he understood him right to plead not

guilty and the attendant trial rights that he would waive by pleading guilty.            See Rule

11(b)(1)(F).

       In direct response to further questioning, the defendant also testified that he was pleading

guilty to the offenses charged in Counts One and Eight because he had in fact engaged in the

criminal activity alleged against him in these two counts of the Indictment.

                                    GOVERNMENT=S EVIDENCE

       To permit the court to determine whether an independent basis in fact existed for the

defendant=s plea, counsel for the government submitted a written Agreed Statement of Facts

summarizing the essential facts the government was prepared to prove at trial, including its

calculus of the drug weights involved in the defendant’s illegal drug dealing.

       The defendant and his counsel each represented that the proffer fairly summarized the

essentials of the government=s case. See Rule 11(b)(3).

                                               THE PLEA

       After testifying that he had heard and understood all parts of the proceeding, the

defendant waived a reading of the Indictment. Upon being then called-upon for him pleas, the

defendant entered a plea of GUILTY to Count One alleging his violation of Title 21 United

States Code, §§ 846, 841(a)(1) and 841(b)(1)(C) and a plea of GUILTY to Count Eight alleging

his violation of Title 21 United States Code, §§ 841(a)(1) and 841(b)(1)(C).


                                                 8
   Case 5:13-cr-00025-MFU-JGW             Document 302         Filed 11/21/14      Page 9 of 11
                                          Pageid#: 1259



       The clerk then read the written guilty plea form to the defendant; after acknowledging it

to be correct, the defendant executed it, and it was filed and made a part of the record.

       After entering him plea of guilty and after an independent basis for the plea was

established, the defendant was again addressed personally. He reconfirmed that his decision to

plead guilty was fully voluntary and did not result from any force, threats, promises of leniency

or other inducement of any kind (other than that expressly set forth in the plea agreement). See

Rule 11(b)(2).    The defendant reconfirmed his complete satisfaction with the services and

assistance of his attorney.

       The defendant was then informed that acceptance of the plea agreement and his guilty

pleas would be recommended to the presiding district judge, that a pre-sentence report would be

prepared, that he would be asked to give information for that report, that his attorney may be

present if he wished, and that he and his attorney would have the right to read the pre-sentence

report and to file objections to it. The defendant did not request release, and he was remanded to

the custody of the United States Marshal pending preparation of the presentence report and

acceptance of his plea.

                                      FINDINGS OF FACT

       Based on the evidence, representations of counsel, and defendant=s sworn testimony

presented as part of the hearing, the undersigned submits the following formal findings of fact,

conclusions and recommendations:

           1. The defendant is fully competent and capable of entering informed pleas to the
              charges set forth in Counts One and Eight of the Indictment;

           2. The defendant is fully aware both of the nature of the charges set forth in Counts
              One and Eight of the Indictment and of the consequences of his guilty pleas;

           3. The defendant is fully informed, and he understands, the applicable enumerated
              items set forth in Rule 11(b)(1)(A)B(O);



                                                  9
  Case 5:13-cr-00025-MFU-JGW             Document 302        Filed 11/21/14     Page 10 of 11
                                         Pageid#: 1260



           4. The defendant=s plea of guilty was made pursuant to a fully voluntary written plea
              agreement;

           5. The defendant=s entry into the plea agreement and his tender of pleas of guilty to
              Counts One and Eight were made with the advice and assistance of counsel;

           6. The defendant knowingly and voluntarily entered his pleas of guilty to Counts
              One and Eight of the Indictment;

           7. The defendant=s pleas of guilty did not result from force, threats, inducements or
              promises other those promises contained in the written plea agreement;

           8. The period of time during which the plea agreement is under consideration by the
              court is excludable from speedy trial computation (see 18 U.S.C. §
              3161(h)(1)(G));

           9. The plea agreement complies with the requirements of Rule 11(c)(1); and

           10. The evidence presents an independent basis in fact containing each essential
               element of the two offenses to which the defendant has entered pleas of guilty.

                              RECOMMENDED DISPOSITION

       Based on the above findings of fact, the undersigned RECOMMENDS that the court

accept the defendant=s plea of GUILTY to the offense charged in Count One of the Indictment,

that the court accept the defendant=s plea of GUILTY to the offense charged in Count Eight of

the Indictment, that the defendant he be adjudged guilty of both said felony offenses, and that a

sentencing hearing be set for February 25, 2015 at 11:00 a.m. before the presiding district judge.

                                     NOTICE TO PARTIES

       NOTICE is hereby given to the provisions of 28 U.S.C. ' 636(b)(1)(c): Within fourteen

(14) days after being served with a copy of this Report and Recommendation, any party may

serve and file written objections to such proposed findings and recommendations as provided by

the rules of court. The presiding district judge shall make a de novo determination of those

portions of the report or specified findings or recommendations to which an objection is made.

The presiding district judge may accept, reject, or modify, in whole or in part, the findings or



                                                 10
  Case 5:13-cr-00025-MFU-JGW              Document 302         Filed 11/21/14       Page 11 of 11
                                          Pageid#: 1261



recommendations made by the undersigned. The presiding district judge may also receive

further evidence or recommit the matter to the undersigned with instructions. A failure to file

timely written objections to these proposed findings and recommendations within fourteen

(14) days could waive appellate review.

       The clerk is further directed to transmit a copy of this Report and Recommendation to all

counsel of record, and at the conclusion of the fourteen-day period the clerk is directed to

transmit the record in this matter to the presiding United States district judge.

       DATED: This 21st day of November 2014.



                                                       s/ James G. Welsh
                                                       United States Magistrate Judge




                                                  11
